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                       UNITED STATES DISTRICT COURT

                   SOUTHERN DISTRICT OF WEST VIRGINIA

                                CHARLESTON DIVISION



 DON BLANKENSHIP,                            Case No.: 2:19-cv-00236

                   Plaintiff,                [Honorable John T. Copenhaver, Jr.]

             vs.

 HONORABLE ANDREW NAPOLITANO
 (RET.) et al.



                   Defendants.




PLAINTIFF’S PROOF OF SERVICE OF FIRST AMENDED COMPLAINT TO KEVIN
   MCLAUGHLIN, JOHN LAYFIELD, HAYRIDE MEDIA, LLC, CHRIS JONES,
 BRADLEY BLAKEMAN, ANDREW FEINBERG, DAVID MARTOSKO, JOY ANN
    LOMENA-REID, JUSTIN LAVOIE, BREITBART NEWS NETWORK, LLC,
ELIZABETH MACDONALD, DAVID BERGSTEIN, GIDEON RESNICK, LEIGH ANN
  CALDWELL, TAMAR AUBER, CATHLEEN DECKER, CHRIS HAYES, HOWIE
                KLEIN, ELI LEHRER, AND NEIL CAVUTO




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             Case 2:19-cv-00236 Document 284 Filed 08/27/19 Page 4 of 26 PageID #: 2669

 Attorney or Party wlthout AItorney:                                                                                       For Court use Only
 EARLY SULLIVAN WRIGHT GIZER & MCRAE LLP

 Jeffrey S. Simpkins (\/W State Bar Number 9806)
 6420 Wilshire Blvd., 17th Floor
 Los Angeles, CA 90048
     Telephone No:       323-Sol -4660
                                                                  Ref, No, or File Ncl,:
      AfforrteyFor      Plaintiff


 Insert name of Court, andJudicial Dlstrlct and Branch Court:
 UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
 CHARLETSTON DIVISION

     P/cr/.nt/#   DON BLANKENSHIP

 Defendant..      HONORABLE ANDREW NAPOLITANO (RET.), et al.


             PROOF OF SERVICE                     Hearing Date:          Time:         Dept/Di,,.       Case Number:2:19-cv-00236




1.     At the time of service I was at least 18 years of age and not a party to this action.


2.     I served copies of the summons in a civil Action, Plaintiff's FirstAmended complaint, Order


3.     a.     Pcirtyservec/..       HayrideMedia,LLC
      A.      Person servec/..      Scott MCKay, Agent for service, served under F.R.C.P. Rule 4.


4.    Ac/c/ress where fhepcJrfy wcyss€rved..        9007 Highland Rd #15, Baton Rouge, LA 70810


5.     Iservedtheparty:
      a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
      process for the pa rty (1 ) on: Thu, jun 27 2019 (2) at: 06:02 PM

6.     Person who served papers:
      a. William Humble                                                           d. The Fee for Service wcls:
      b. FIRST LEGAL
            1517 W. Beverly Blvd.
            LOS ANGELES, CA 90026
      c. (213) 250-1111




7.     I declare under penalty ofperjurythattheforegoing istrue and correct.




                                                                                 07/01 „019

                                                                                     (Date)                                         (Signature)




                                                                      PROOF OF                                                                     3507708
                                                                       SERVICE                                                                    (4032695)
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 Attorney or Party without Attorney:                                                                                 For Court Use Only
 EARLY SULLIVAN WRIGHT GIZER & MCRAE LLP
 KEVIN S. SINCLAIR (SBN: 254069)
 6420 Wilshire Blvd., 17th Floor
 Los Angeles, CA 90048
   Telephone No: 323-301-4660

      Attorney For:                                              Ref. No. or File No.:
                       Plaintiff

 Insert name of Court, and Judicial District and Branch Court:
 UNITED STATES DISTRICT COURT
 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA - CHARLESTON DIVISION
     Plaintiff:    DON BLANKENSHIP
 Defendant:        HONORABLE ANDREW NAPOLITANO (RET.), et al.

           PROOF OF SERVICE                    Hearing Date:            Time:            Dept/Div:       Case Number:
                                                                                                         2:19-cv-00236


1.    At the time of service I was at least 18 years of age and not a party to this action.

2.    I served copies of the Summons in a Civil Action, Plaintiff's First Amended Complaint

3.    a.    Party served:      HOWIE KLEIN
      b.    Person served:     PARTY IN ITEM 3.A.
                               [Served under F.R.C.P. Rule 4.]

4.    Address where the party was served:       3653 Shannon Road, Los Angeles, CA 90027

5.    I served the party:
      a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
      process for the party (1) on: Wed, Jul 03 2019 (2) at: 08:23 AM


6. Person Who Served Papers:
   a. Javier Sanchez (2014115318, Los Angeles)                                             d. The Fee for Service was: $117.13
   b. FIRST LEGAL
      1517 W. Beverly Blvd.
      LOS ANGELES, CA 90026
   c. (213) 250-1111




7.    I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.




                                                                                07/08/2019
                                                                                    (Date)                               (Signature)




                                                                     PROOF OF                                                               3525803
                                                                      SERVICE                                                             (4039391)
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 Attorney or Party without Attorney:                                                                              For Court Use Only
 EARLY SULLIVAN WRIGHT GIZER & MCRAE LLP
 Jeffrey S. Simpkins (WV State Bar Number 9806)
 6420 Wilshire Blvd., 17th Floor
 Los Angeles, CA 90048
    Telephone No: 323-301-4660

      Attorney For:                                              Ref. No. or File No.:
                       Plaintiff

 Insert name of Court, and Judicial District and Branch Court:
 UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
 CHARLETSTON DIVISION
     Plaintiff:    DON BLANKENSHIP
 Defendant:        HONORABLE ANDREW NAPOLITANO (RET.), et al.

           PROOF OF SERVICE                    Hearing Date:            Time:            Dept/Div:     Case Number:
                                                                                                       2:19-cv-00236


1.    At the time of service I was at least 18 years of age and not a party to this action.

2.    I served copies of the Summons in a Civil Action, First Amended Complaint, Order

3.    a.    Party served:      Neil P. Cavuto
      b.    Person served:     Party in item 3.a., Served under F.R.C.P. Rule 4.

4.    Address where the party was served:       55 Prentice Ln, Mendham, NJ 07945

5.    I served the party:
      a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
      process for the party (1) on: Mon, Jun 24 2019 (2) at: 08:57 PM

6.    Person Who Served Papers:
      a. Manny Bayo                                                               d. The Fee for Service was:
      b. FIRST LEGAL
         1517 W. Beverly Blvd.
         LOS ANGELES, CA 90026
      c. (213) 250-1111



7.    I declare under penalty of perjury under that the foregoing is true and correct.




                                                                                06/26/2019
                                                                                    (Date)                             (Signature)




                                                                     PROOF OF                                                            3493572
                                                                      SERVICE                                                          (4028080)
